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 6
     Attorney for Defendant
 7   JESUS BRUCE
 8                               IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12

13   UNITED STATES OF AMERICA,                        Case No.: 2:11-cr-00275 JAM
14                  Plaintiff,
15
     vs.                                              Case No.: 2-12-cr-00309 JAM
16
     JESUS BRUCE,
17                                                    STIPULATION AND ORDER RESETTING
                    Defendant.                        SENTENCING HEARING FOR
18                                                    DEFENDANT JESUS BRUCE
19

20                                                    Hon. John A. Mendez
21

22

23                                           STIPULATION

24                  Plaintiff, United States of America, by and through its counsel, Assistant United

25   States Attorney Jason Hitt, and defendant Jesus Bruce, by and through his attorney of record,
26
     Hayes H. Gable III, agree and stipulate to vacate the existing sentencing date in the above-
27
     entitled case, February 2, 2016, and to continue the matter April 5, 2016, at 9:15 a.m.
28                                                    1
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 1          Accordingly, the parties request the Court to adopt this stipulation.
 2
            Dated: January 27, 2016
 3

 4
                                              /s/Hayes H. Gable III
 5
                                              HAYES H. GABLE III
 6                                            Attorney for Defendant
                                              JESUS BRUCE
 7

 8

 9                                            /s/Hayes H. Gable III for________________
                                                JASON HITT
10                                              Assistant United States Attorney
11

12

13                                        ORDER
14
     Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
15

16          1.   The judgment and sentencing hearing for defendant JESUS BRUCE on
17               February 2, 2016, is VACATED; and,
18          2. Judgment and sentencing for defendant BRUCE is reset for April 5, 2016, at

19               9:15 a.m.

20
     IT IS SO ORDERED.
21
     Date: 1/27/2016                              /s/ John A. Mendez____________
22                                                HON. JOHN A. MENDEZ
                                                  United States District Court Judge
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